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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:18-cv-00987

WILDERNESS WORKSHOP, et al.,

          Petitioners,
v.

U.S. BUREAU OF LAND MGMT, et al.,

          Federal Respondents.




                            JOINT STIPULATION OF DISMISSAL


          Petitioners Wilderness Workshop et al., and Federal Respondents United States Bureau

of Land Management et al., by and through undersigned counsel, jointly request that the Court

dismiss with prejudice the above-captioned case against Federal Respondents, pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(ii). In support of this stipulation, the Parties state and stipulate as follows:

          WHEREAS, on April 26, 2018, Petitioners brought this action challenging BLM’s

approval of 53 oil and gas leases in Western Colorado (the “subject leases”) through two

Decision Records, which approved lease auctions on December 8, 2016 and December 7, 2017,

and where Petitioners alleged violations of the National Environmental Policy Act (“NEPA”);

          WHEREAS, Federal Respondents deny any violation of law for the issuance of those

leases;




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       WHEREAS, the subject leases were sold at lease auctions held on December 8, 2016 and

December 7, 2017;

       WHEREAS, the subject leases are located in areas managed pursuant to either the

Colorado River Valley Field Office Resource Management Plan (“RMP”) or the Grand Junction

Field Office RMP;

       WHEREAS, both the Colorado River Valley Field Office RMP and environmental

impact statement (“EIS”) and the Grand Junction Field Office RMP and EIS have been

challenged in federal court;

       WHEREAS, Federal Respondents are completing supplemental NEPA analysis for the

Colorado River Valley Field Office RMP and EIS, pursuant to a settlement agreement reached in

16-cv-1822, before this Court;

       WHEREAS, Federal Respondents have proposed to complete supplemental NEPA

analysis for the Grand Junction Field Office RMP and EIS, in a pending motion for voluntary

remand in 19-cv-2869, before this Court;

       WHEREAS, the Parties believe it is in the best interest of the public, the Parties, and

judicial economy to resolve the claims in this case, and have reached agreement as to those

claims and related issues as embodied in a Settlement Agreement (attached as Exhibit 1),

executed on the 4th of January, 2021;

       THEREFORE, according to the terms of that Settlement Agreement, the parties hereby

stipulate to voluntarily dismiss this action with prejudice. A proposed order dismissing the case

is provided.




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Respectfully submitted this 6th day of January, 2021.


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